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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                             )
 U.T., et al.,                               )
                                             )
                 Plaintiffs,                 )
                                             )
 v.                                          ) No. 1:20-cv-00116 (EGS)
                                             )
 WILLIAM BARR, et al.,                       )
                                             )
                 Defendants.                 )
                                             )

                                   JOINT STATUS REPORT

        Pursuant to the Court’s January 27, 2020 order, the parties, having met and conferred,

jointly report the following concerning the parties’ disputes about the administrative record:

        Defendants produced the administrative record on February 13, 2020. This consisted of

separate certified administrative records from the Departments of Justice (DOJ) and Homeland

Security (DHS) for (1) the interim final rule (IFR), “Implementing Bilateral and Multilateral

Asylum Cooperative Agreements Under the Immigration and Nationality Act,” 84 Fed. Reg.

63,994 (Nov. 19, 2019), and (2) “Whether Guatemala’s Refugee Protection Laws and Procedures

Satisfy the ‘Access to a Full and Fair Procedure’ Requirements of Section 208(a)(2)(A) of the

Immigration and Nationality Act, 8 U.S.C. § 1158(a)(2)(A)” (Guatemala Full and Fair

Determination), and (3) a certified administrative record from the United States Citizenship and

Immigration Services (USCIS) for guidance issued on implementing the IFR with respect to the

Agreement Between the Government of the United States of America and the Government of the

Republic of Guatemala on Cooperation Regarding the Examination of Protection Claims (USCIS

Guidance). In total, Defendants produced five separate administrative records.
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       Plaintiffs raised their questions about the completeness of the administrative record on

February 19, 2020. Counsel for Plaintiffs and counsel for Defendants conferred by phone on

February 20 and 21, 2020, to discuss and attempt to resolve Plaintiffs’ questions, and continued to

confer by email on February 22 and 24, 2020.

       Defendants represented—and relevant agency personnel certified—that the records

produced are the full and complete records from the relevant agencies. For purposes of briefing

and deciding the parties’ cross-motions for summary judgment—with one limited exception

described below—Plaintiffs represent that they will consider the administrative records produced

to be complete, based on Defendants’ representation that these records include all materials that

were before the relevant decision-maker, either directly or indirectly, at the time the relevant

decisions were made. These include the records for both DHS and DOJ concerning the IFR, the

Guatemala Full and Fair Determination, and the USCIS Guidance.

       However, the parties continue to have a narrow dispute about a single document that

Plaintiffs believe should have been included in the Department of Homeland Security’s

administrative record for its Guatemala Full and Fair Determination. During the meet and confer

process, Defendants represented that this document is not properly part of the record because it

was not before the decision-maker at the time the decision was made. With the exception of the

one contested document, Plaintiffs otherwise agree that, for purposes of briefing and deciding the

parties’ cross-motions for summary judgment, they will consider DHS’s Guatemala Full and Fair

Determination record to be complete. The parties are prepared to proceed with briefing as

scheduled, and have proposed to resolve the limited dispute, if any remains, as described below.

       The parties do not agree about the circumstances under which it is appropriate for Plaintiffs

to cite extra-record evidence for certain purposes in their motion for summary judgment and any




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response brief. However, the parties agree that such disputes need not be resolved before the

merits briefing occurs. The parties believe that any such disagreements can be resolved by the

Court alongside the existing schedule for summary judgment briefing. The parties have agreed on

the following process for raising these record issues before the Court:

       If Defendants object to Plaintiffs’ reliance on any extra-record evidence in their motion for

summary judgment, Defendants may file a motion to strike when they file their cross-motion for

summary judgment and opposition on March 25. Plaintiffs may file an opposition to this motion

at the time they file their combined opposition and reply on April 10. Defendants may file an

optional reply with their summary judgment motion reply on April 29.


Dated: February 24, 2020                     Respectfully submitted,

                                             /s/ Katrina Eiland
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2020, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.



                                            By: /s/ Katrina Eiland
                                                Katrina Eiland




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